Case 1:08-cr-00264-JG   Document 109   Filed 07/21/09   Page 1 of 5 PageID #: 348




                                        s/John Gleeson
Case 1:08-cr-00264-JG   Document 109   Filed 07/21/09   Page 2 of 5 PageID #: 349
Case 1:08-cr-00264-JG   Document 109   Filed 07/21/09   Page 3 of 5 PageID #: 350
Case 1:08-cr-00264-JG   Document 109   Filed 07/21/09   Page 4 of 5 PageID #: 351
Case 1:08-cr-00264-JG   Document 109   Filed 07/21/09   Page 5 of 5 PageID #: 352
